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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


CAROLYN BARKER,                                       CIVIL ACTION

                              Plaintiff,              NO.

      vs.

COMENITY BANK,
                                                      ELECTRONICALLY FILED
                              Defendant.



                                       NOTICE OF REMOVAL

TO: United States District Court
    Middle District of Pennsylvania
    228 Walnut Street
    Harrisburg, PA 17108

             Defendant Comenity Bank (“Comenity”), by and through its counsel, Saul

Ewing Arnstein & Lehr LLP, hereby files the within Notice of Removal to the

United States District Court for the Middle District of Pennsylvania from the Court

of Common Pleas of Luzerne County, Pennsylvania. In support thereof, Comenity

states as follows:

             1.         On or about June 6, 2018, Plaintiff Carolyn Barker (“Plaintiff”) filed a

complaint against Comenity in the Court of Common Pleas of Luzerne County,

Pennsylvania, Civil Action No. 201806243 (“Complaint”). Copies of all process

and pleadings are attached hereto as Exhibit A.


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             2.         The Complaint asserts a single claim against Comenity under the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a federal law

enacted by Congress. See, e.g. Stauffer v. Navient Solutions, LLC, 241 F.Supp.3d

517, 520 (M.D. Pa. 2017).

             3.         Under 28 U.S.C. § 1331, the federal district courts have original

jurisdiction over all civil actions arising under the Constitution, laws, or treaties of

the United States. Accordingly, this Court has original subject matter jurisdiction

of this action pursuant to 28 U.S.C. § 1331.

             4.         Under 28 U.S.C. § 1446(b)(1), a defendant may remove a civil action

from state court to the United States district court in which the action is pending

within 30 days of the defendant’s receipt of an initial pleading.

             5.         Comenity was served with the Complaint on June 7, 2018. Therefore,

this Notice of Removal is filed within 30 days after service of the Complaint on

Comenity.

             6.         A true and correct copy of the Notice of Removal will be filed with

the Prothonotary of the Court of Common Pleas of Luzerne County, Pennsylvania,

contemporaneously with the filing hereof.

             7.         The within Notice of Removal is given subject to and without waiver

of any rights Comenity may have with respect to Plaintiff’s claims.




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             WHEREFORE, Defendant Comenity Bank respectfully removes this matter

to this Court.

                                                Respectfully submitted,


Dated: June 27, 2018                            /s/ Matthew M. Haar______________
                                                Matthew M. Haar, Esq. (85688)
                                                Saul Ewing Arnstein & Lehr LLP
                                                2 N. Second Street, 7th Floor
                                                Harrisburg, PA 17101
                                                717-257-7508
                                                matt.haar@saul.com

                                                Attorneys for Defendant, Comenity Bank




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                                CERTIFICATE OF SERVICE

             I hereby certify that on June 27, 2018, I served a true and correct copy of the

foregoing Notice of Removal via first class mail, postage prepaid, upon the

following:


                                 Brett Freeman
                                 Sabatini Freeman LLC
                                 216 N. Blakely St.
                                 Dunmore, PA 18512

                                 Attorneys for Plaintiff


Dated: June 27, 2018                          /s/ Matthew M. Haar
                                              Matthew M. Haar




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